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                          UNITED STATES BAN KRUPTCY COURT
                           SOUTHERN DISTRICT OF NEW YORK

_____________________________________X
In re:                                                       Chapter 13
                                                             Case No 17-36789- (cgm)
       Marc D. Kessman,

                  Debtor(s).
_____________________________________X

     AFFIRMATION IN SUPPORT OF MOTION AUTHORIZING THE DEBTOR’S
            SALE UNDER 11 U.S.C. §§363(b)(1) and (f) AND POINTS OF LAW


TO HONORABLE CECELIA G. MORRIS, UNITED STATES BANKRUPTCY JUDGE:


The motion ("Motion") of Marc D. Kessman, (“the Debtor"), by his attorneys, The Law Offices
of Francis J. O’Reilly, respectfully represent as follows:


                                 JURISDICTION AND VENUE


1. This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§157 and 1334.
Consideration of this Motion is a core proceeding pursuant to 28 U.S.C. §157(b).


2. Venue is proper in this District pursuant to 28 U.S.C. §§1408 and 1409.


3. The statutory predicates for the relief sought herein are 11 U.S.C. §§105 and
363, Rules 2002 and 6004(h) of the Federal Rules of Bankruptcy Procedure and Local
Bankruptcy Rule 6004-1.


                                  FACTUAL BACKGROUND


4. On October 23, 2017, an Order for relief under 11 U.S.C. Chapter 13 was
entered upon a petition filed by the Debtor.
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5. The bankruptcy petition and schedules indicate that the Debtor owns the real
property located at 70 Athena Court, Mahopac, New York 10541 (the “property”).


6. In or about June 11, 2018, the debtor met with J. PHILIP REAL ESTATE (the “broker”) to
discuss marketing and selling his property and agreed to retain the broker pending court
approval. A motion to approve the broker was drafted and filed on presentment and on July 9,
2018, this Court entered an Order Approving Debtor’s Retention of the broker.


7. Since the date of retention, the broker has used its best, professional efforts to
market the residence at its market price employing all standards of professional Realtors. The
property was initially listed at $850,000.00 on August 8, 2018to try and obtain the greatest
possible return for the secured creditor. The sales price was reduced monthly until there was
interest and offers. The best offer was for $632,000 but the purchaser’s backed out before they
signed the contract of sale. The property continued to be marketed and an offer was made from
the current proposed Purchasers for a purchase price of $615,000.00 in January of 2019.


8. At the time of the filing, the Debtor’s real property was encumbered by a first
mortgage held by BANK OF AMERICA, N.A. pursuant to a mortgage in the original principal
amount of $835,992.00 and recorded in the office of the Putnam County Clerk on 12/11/2007 in
Book/Page 5216/306. POC #1 – Bank of America


9. The original mortgagee listed on the recorded mortgage was Merrill Lynch. Merrill Lynch
merged in to Bank of America by agreement affective July 1, 2011. Exhibit “A”


9. On February 17, 2019, the Debtor entered into an arms-length Contract of Sale with
Richard Blasetti and Serena Blasetti, (“Buyers”) to sell to his real property for the sum of Six
Hundred Fifteen Thousand Dollars ($615,000.00). The contract is subject to short sale bank
approval and Bankruptcy Court Approval. Exhibit “B”
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10. The proposed Buyers have worked diligently toward and have received a commitment for
funding for an F.H.A. loan with Loan Depot and are currently working toward clearing the
conditions of the commitment. Exhibit “C”


11. My office has prepared a preliminary Closing Disclosure and has forwarded same to the short
sale creditor’s counsel for their review. As reflected in the Closing Disclosure, no proceeds from
the sale are going to Debtor and all proceeds of the sale, save expenses, are going to the secured
creditor. Exhibit “D”


12. The Debtor desires to sell the real property to aide in the consummating of his Chapter 13
Plan.


13. The sale of the property will not result in prejudice to the first lienholder. The
Debtor, through his professional real estate broker has professionally marketed the property, held
open houses, placed same on M.L.S., began the listing at an $850,000.00 sales price and
continually lowered the price to obtain the best price for the first lienholder, has had numerous
showings and has been available and has aided in the selling of the home at its current market
value and sales price. The actions of Debtor have resulted in the first lienholder obtaining
maximum return at the actual value of the asset without the devaluation of the asset should it
remain vacant for a lengthy period while the mortgagee seeks to sell same after the foreclosure
sale is completed.


13. The Debtor makes this Application for an Order authorizing him to sell his right,
title and interest in and to the property free and clear of all liens against the property.


                               APPLICATION TO SELL ASSETS


14. By this Motion the Debtor seeks the entry of an Order: (I) authorizing him to proceed with
the Sale of his property; (ii) approving the sale of the Assets, free and clear of all liens, claims
and encumbrances, security interests and other interests, to Richard Blasetti and Serena Blasetti;
and (iii) granting such other and further relief.
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                                                   ARGUMENT

                                                      POINT I


            THE SALE OF THE PROPERTY IS A REASONABLE EXERCISE OF
         THE DEBTOR’S BUSINESS JUDGMENT AND SHOULD BE APPROVED


Bankruptcy Code §363 provides, in pertinent part, that “[t]he trustee (to wit: the
debtor), after notice and hearing, may use, sell, or lease, other than in the ordinary course of
business, property of the estate . . . .” 11 U.S.C. §363(b)(1). The terms of such a sale are
generally within the sound discretion of the debtor. See, Committee of Equity Security Holders
v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1071 (2d Cir. 1983); See also Official
Comm. Of Unsecured Creditors of LTV Aerospace & Defense Co. v. LTV Corp. (In re
Chateaugay Corp.), 973 F.2d 141, 145 (2d Cir. 1993); In re Dial-A-Mattress Operating Corp.,
Case No. 1-09-419660(dem), 2009 Bankr. LEXIS 1801, at 12 (Bankr. E.D.N.Y. June 24, 2009)
(“The business judgment test is the standard for Section 363 sales in this Circuit.” (citations
omitted)); In re Thomson McKinnon Sec., Inc., 120 B.R. 301, 307-08 (Bankr.S.D.N.Y. 1990).
As recognized by the Second Circuit United States Court of Appeals in Lionel Corp., a court
may approve a Section 363 application after expressly determining from the evidence presented
that a good business reason exists to grant such application. In re Lionel Corp., 722 F.2d at 1063.


The Debtor has met the standard set forth in Section 363(b) of the Bankruptcy Code which
permits a debtor to sell out of the ordinary course of business, if within the debtor’s sound
business judgment, the sale is beneficial to the estate. Section 363(b) provides, in relevant part:


         (b)(1) The trustee1, after notice and a hearing, may use, sell, or lease, other than in the
         ordinary course of business, property of the estate....




1 It is a widely accepted principal that the term Trustee in this Section includes the debtor when the debtor is a
debtor in possession such as in a Chapter 11 or Chapter 13 filing.
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Thus, under the Second Circuit standard, the debtor in this case should be permitted to sell the
property as the Debtor has established a justified business decision in seeking to do so, to wit:
avoiding a foreclosure sale and a disruption to the Debtor’s financial affairs so that the
Debtor may address his financial situation in an orderly manner enabling the Debtor to confirm
his proposed Chapter 13 Plan. Once the debtor has established the justification, the Debtor will
be permitted to sell the property outside of his Chapter 13 plan. In re Boston Generating, LLC,
440 B.R. 302 (Bankr.S.D.N.Y. 2010), provided that the debtor satisfies any of the conditions set
forth in Section 363(f).


                                                POINT II


                     THE DEBTOR MAY SELL THE PROPERTY FREE
                    AND CLEAR OF ALL LIENS AND ENCUMBRANCE


Pursuant to In re Boston Generating, LLC, 440 B.R. 302 (Bankr.S.D.N.Y. 2010), the
debtor may sell the property free and clear of all liens and encumbrances under Section 363(f) of
the Bankruptcy Code, provided that, the debtor sells the property for value and remits the
proceeds of the sale to the secured creditors as they are defined by Section 506(a) of the
Bankruptcy Code. Moreover, the debtor may sell the property free and clear of all liens and
encumbrances if the debtor sells the property for the actual value of the property, as doing so
satisfies the condition set forth in Section 363(f)(3). In this regard, Section 363(f) of the


Bankruptcy Code provides:
(f) The trustee may sell property under subsection (b)
or (c) of this Section free and clear of any interest in such property of an entity other than the
estate, only if–
(1) applicable non-bankruptcy law permits sale of such property free and clear of such interest;
(2) such entity consents;
(3) such interest is a lien and the price at which such property is to be sold is greater than the
aggregate value of all liens on such property;
(4) such interest is in bona fide dispute; or
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(5) such entity could be compelled, in a legal or equitable proceeding, to accept a money
satisfaction of such interest. 11 U.S.C. §363(f).
In the case of Boston Generating, supra., the Southern District Bankruptcy Court faced almost
the identical issue presented herein. In Boston Generating, supra., the debtor sought to sell
substantially all of its assets outside of the debtor’s pre-confirmation of the Chapter 11 Plan over
the Objections of the Second Lien holders that the debtor’s proposed sale failed to satisfy any of
the conditions set forth in Section 363(f), as the sale of the assets would not even satisfy the
amount due in accordance with the first lien holder’s lien. The court in overruling the Objection
determined that the sale satisfied both the conditions set forth in Section 363(f)(3), as well as
Section 363(f)(5), and permitted the sale. Id.
First, the court determined that the sale satisfied Section 363(f), as the court, rejecting the Second
Lienholder’s definition of value thereunder; to wit: that in order to satisfy this condition
the debtor had to sell the property for a price greater than the amount of the secured creditor’s
prepetition liens. Therefore, as the debtor’s sale did not even satisfy the liens of the first
lienholder, the condition was not met. The court rejected this argument finding that “[t]he
“value” of a lien is to be determined by reference to section 506(a) – that is, it is the amount by
which the lienholder’s claim is “actually secured” not the amount of the stated lien. Id. at 332.
“The phrase ‘value of such creditor’s interest in §506(a) means ‘the value of the collateral.’ Id.
(See also In re Beker Industries Corp., 63 B.R. 474 (B.Ct.S.D.N.Y. 1986). Thus, as the property
was being sold for its “actual value” which was less even than the amount due on the first
lienholder’s, the sale qualified under the condition set forth in Section 363(f)(3) of the
Bankruptcy Code. In Boston Generating, supra., the court concluded, without the aid of
appraisals, that the amount of a proposed arms-length sale, established the actual value of the
property. Id. In so holding, the court found:
Under Beker and the many decisions of other Bankruptcy Courts following its reasoning, I find
that section 363(f)(3) is satisfied. To hold otherwise would effectively mean that most section
363 sales of encumbered assets could no longer occur either (a) absent consent of all lienholders
(including those demonstrably out of the money) or (b) unless the proceeds of the prosed sale
were sufficient to pay the face amount of all secured claims in full. If section 363(f)(3) and (as
discussed below) Section 363(f)(5) are read in the manner suggested by the Second Lien
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Lenders, it seems unlikely that a Court, under any circumstance, could approve a non-consensual
section 363 sale. As both a practical matter and a matter of statutory construction, that
cannot be the case. It is hard to imagine that Congress intended to so limit a debtor’s power to
dispose of encumbered assets, particularly where such disposition otherwise satisfies the
requirements of section 363(b).
Second, the court determined, over the objection of the lienholders, that the sale for “actual
value” met the condition set forth in Section 363(f)(5). In rejecting the argument of the Second
Lienholder, the court held that same could be compelled in a legal or equitable proceeding
to accept a money satisfaction of their liens, the court ruled: “Section 363(f)(5) does not require
that the sale price for the property exceed the value of the interests. As recognized in a ...
decision from a Bankruptcy Court in the Ninth Circuit, the existence of judicial and nonjudicial
foreclosure and enforcement actions under state law can satisfy section 363(f)(5). “ Id. at 333.
(See In re Holan, Inc., 403 B.R. 866, 870 (Bankr.W.D.Wash. 2009).
Accordingly, as the Debtor’s sale does satisfy the conditions if sale set forth in Section 363(f)(3)
and 363(f)(5), the debtor’s Motion should be granted.


WHEREFORE, the debtor respectfully requests entry of the Proposed Order and
for such other and further relief as to the Court may seem just and proper.

Dated: Carmel, New York
       March 29, 2019

                                               /s/ Frank J. Corigliano__
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